Case 5:08-cr-50007-JLH    Document 91    Filed 05/15/08   Page 1 of 1 PageID #: 667



                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


     UNITED STATES OF AMERICA                                             PLAINTIFF

     v.                    Criminal No, 5:08CR50007-001 - 004

     ARTURO REYES, JR.;
     SILVIA REYES;
     ARMANDO REYES; and
     LUCILA HUARACHA                                                     DEFENDANTS




                                        O R D E R

           There is presented to the court the Unopposed Motion to

     Modify Bond Conditions of separate defendants Arturo Reyes, Jr.

     And Armando Reyes [document no. 88].           The court, after review and

     consideration, finds that the Motion should be granted and that

     defendants’ conditions of release should be modified to remove

     home detention with electronic monitoring.               Further, the court

     imposes a curfew from 9:00 p.m. until 6:30 a.m.                      All other

     conditions of release, unless specifically modified by this order,

     remain in full force and effect.

           SO ORDERED this 15th day of May 2008.




                                                 /s/ J. Marschewski
                                                 HONORABLE JAMES R. MARSCHEWSKI
                                                 UNITED STATES MAGISTRATE JUDGE
